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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

 -------------------------------------------------------------
 CRYSTALLEX INTERNATIONAL CORP.,                              )
                                                              )
                   Plaintiff,                                 )
                                                              )
          v.                                                  )    Misc. No. 17-151-LPS
                                                              )
 BOLIVARIAN REPUBLIC OF VENEZUELA, )
                                                              )
                   Defendant.                                 )
 -------------------------------------------------------------




      SPECIAL MASTER’S SUPPLEMENTAL REPORT AND RECOMMENDATION
                  PURSUANT TO SALE PROCEDURES ORDER



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 Dated: April 28, 2023
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                                                            EXHIBITS

 EXHIBIT A         April 7 DOJ Letter
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 Pursuant to the Court’s Sale Procedures Order (D.I. 481) (the “Sale Procedures Order”), I, Robert

 B. Pincus, solely in my capacity as special master (the “Special Master”) for the United States

 District Court for the District of Delaware (the “Court”) in Crystallex International Corp. v.

 Bolivarian Republic of Venezuela (D. Del. Case. No. 17-151-LPS) (“the “Crystallex Case”),

 hereby submit this report and recommendation (this “Supplemental Report”). 1

                                   I.      Preliminary Statement

        1.      Pursuant to my mandate as Special Master, my Advisors and I, together with input

 from the Sale Process Parties, designed a sale and marketing process with the goal of providing

 the best opportunity of achieving a value-maximizing result, in the best interests of all parties. The

 process was initially documented in the Proposed Sale and Bidding Procedures Order (D.I. 302),

 the preparation for and background of which was described in detail in the Special Master’s Report

 and Recommendation re: Proposed Sale Procedures Order (D.I. 303) (the “August 2021

 Report”). Over a year passed between that initial submission and the ultimate Sale Procedures

 Order entered by the Court on October 11, 2022, during which time I actively engaged with the

 Sale Process Parties and other parties-in-interest, including the U.S. Government, to design a sale

 process for the PDVH Shares that reflects the perspectives of each party and provides a path to a

 comprehensive and efficient enforcement of the Court’s judgment. During the period following

 entry of the Sale Procedures Order, I engaged with the Sale Process Parties on various issues and

 my Advisors and I have worked diligently to implement the process approved by the Court.

        2.      Among other things, the Sale Procedures Order directs the Special Master to submit

 this Supplemental Report recommending whether and when the Court should direct me to begin



 1
   Capitalized terms used but not defined shall have the meaning ascribed to such terms below or,
 if not defined below, the meaning ascribed to such terms in the Sale Procedures Order.
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 preparation for the launch of the Marketing Process (the date on which preparation for the

 Marketing Process begins, the “Preparation Launch Date”) and when to ultimately launch the

 Marketing Process (the date on which the Marketing Process is launched, the “Launch Date”).

        3.      Toward that end, the Sale Procedures Order further directed me to engage with the

 U.S. Government to gain clarity or guidance with respect to its support for (or non-opposition to)

 the Marketing Process. In the August 2021 Report, I articulated that, given the public guidance

 from the Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) at the time,

 which required a specific license “prior to conducting an auction or other sale . . . or taking other

 concrete steps in furtherance of a sale” of shares of a Government of Venezuela entity such as the

 PDVH Shares, “barring a change in circumstances, my recommendation [was] to launch the

 Marketing Process only once I am confident that I am able to provide Potential Bidders with

 comfort that they can participate in the process without subjecting themselves to the risk of

 violating U.S. sanctions.” August 2021 Report ¶ 3.

        4.      In light of this directive, my Advisors and I have engaged with the U.S.

 Government, including through a meeting with attorneys from the Departments of Justice, State,

 and the Treasury on January 12, 2023, to discuss the design of the Marketing Process in furtherance

 of a value-maximizing sale of the PDVSA Shares and the prospective impact of the U.S.

 Government’s official guidance on the Marketing Process.

        5.      Following the January 12 meeting, on April 7, 2023, the Department of Justice

 delivered a letter to me, attached hereto as Exhibit A (the “April 7 DOJ Letter”), outlining

 updated guidance on behalf of the U.S. Government. While I understand that the position of the

 U.S. Government outlined in the April 7 DOJ Letter is a precursor to formal public guidance to be

 published by the U.S. Government, the letter is nevertheless clear that “OFAC will not take




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 enforcement action against individuals or entities for participating in or complying with the

 Prefatory Steps set out in the [Sale Procedures Order], as well as those who engage in transactions

 that are ordinarily incident and necessary to participation in and compliance with such steps, e.g.,

 potential or actual credit counterparties.” April 7 DOJ Letter at 1. Further, the United States

 Government indicated that it does not intend to impede the Sale Transaction by stating, “[t]he

 United States Government [] wishes to convey that OFAC intends to implement a favorable

 licensing policy for license applications in connection with the execution of sale…” Id. at 2. With

 that clarity now available to Potential Bidders, and given the other considerations discussed in

 more detail herein, I am comfortable recommending the launch of the Marketing Process as

 outlined below.

        6.      Except as otherwise indicated, this Supplemental Report is based on the facts as

 presented, identified, and determined by me, with the assistance of my Advisors, and the

 circumstances relating to the Crystallex Case, PDVH, CITGO, my review of relevant pleadings

 and documents, information provided to me by the Sale Process Parties and the U.S. Government,

 publicly available information, or my opinion based upon my and my Advisors’ respective

 experience and knowledge.

                       II.     Executive Summary and Recommendation

        7.      In light of updated guidance from the U.S. Government, and in consideration of the

 factors outlined in this Supplemental Report, I recommend preparations for the launch of the

 Marketing Process begin without any further delay beyond the consideration by the Court of this

 Supplemental Report and any Launch Date Objections. Therefore, I recommend the Preparation

 Launch Date be set as soon after June 5, 2023 as the Court is able to consider the Supplemental

 Report and any Launch Date Objections and responses thereto. Based on the foregoing, I

 recommend the Launch Date occur on the earlier of (i) September 5, 2023, and (ii) the date on


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 which the Special Master, in his sole discretion, believes he and his Advisors are sufficiently

 prepared to launch the Marketing Process. Based on the Bidding Procedures approved by the Sale

 Procedures Order, a September 5, 2023 Launch Date would result in a Sale Hearing milestone of

 approximately June 1, 2024, as illustrated in the chart below:

                        Event                                       Proposed Date

  Preparation Launch Date                            As soon as practicable after June 5, 2023

  Launch Date                                        September 5, 2023

  Illustrative Sale Hearing                          June 1, 2024



                 III.    Special Master Engagement with the U.S. Government

        8.      On May 27, 2021, the Court issued the Order Regarding Special Master (D.I. 277)

 (the “May 27 Order”), explaining the duty of the Special Master to “devise a plan for the sale of

 shares of PDVH as necessary to satisfy the outstanding judgment of Crystallex and the judgment

 of any other judgment creditor added to the Sale by the Court and/or devise such other transaction

 as would satisfy such outstanding judgment(s) while maximizing the sale price of any assets to be

 sold.” May 27 Order ¶2.

        9.      In accordance with the May 27 Order, concurrently with my consultation with the

 Sale Process Parties throughout the period during which I was designing and soliciting feedback

 on the Marketing Process, my Advisors and I also met with representatives from the U.S.

 Government, including representatives from the Department of Justice, Department of the

 Treasury, and Department of State. More specifically, my Advisors and I met with the U.S.

 Government representatives on three separate occasions in 2021 to describe the proposed sale

 process and solicit input. At the first meeting, on June 6, 2021, we provided an overview of the




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 Special Master process; at the second meeting, on July 12, 2021, we provided a preliminary

 overview of the proposed design of the Sale Procedures Order; and at the third meeting on July

 15, 2021, we answered follow-up questions from the U.S. Government regarding the information

 presented at the prior meetings and agreed to schedule a follow-up meeting once I had filed the

 proposed Sale Procedures Order with the Court. At each meeting, we solicited feedback regarding

 the U.S. Government’s position with respect to the Special Master process and design of the Sale

 Procedures Order.

        10.     At no point did the U.S. Government express any opinion about or objection to the

 proposed process that my Advisors and I presented; and, at the third meeting, the U.S. Government

 representatives indicated that they had no further questions and did not require any additional

 information at that time.

        11.     On October 11, 2022, this Court entered the Sale Procedures Order adopting and

 authorizing the proposed sale procedures for the sale of the PDVH Shares as necessary to satisfy

 the outstanding judgment of Crystallex and the judgment of any other judgment creditor added to

 the sale by the Court. The entry of the Sales Procedures Order triggered the Six-Month Window,

 during which period I, as Special Master, was directed to make certain inquiries and issue a

 recommendation to the Court as to when, and whether the Court should direct me to launch the

 sale process. As relevant here, the Sales Procedures Order includes a provision requiring that “the

 Special Master and his Advisors shall solicit and attempt to gain clarity or guidance from [OFAC]

 of its support for (or non-opposition to), the launch of the Marketing Process by the Special Master,

 the viability of the Marketing Process, and any additional feedback or guidance that the Special

 Master believes will more likely result in a value-maximizing Sale Transaction.” Id. ¶ 3.




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        12.     Pursuant to the Court’s direction in the Sale Procedures Order, my Advisors sent a

 letter to the U.S. Government on November 22, 2022, sharing and summarizing the Sale

 Procedures Order and seeking guidance from the U.S. Government, in particular from OFAC, to

 assess “its support for (or non-opposition to)” the Marketing Process and the Bidding Procedures

 and the likelihood that OFAC would provide authorization to allow for consummation of a

 potential sale of some or all of the PDVH Shares (the “Sale Transaction”). The U.S. Government

 responded, suggesting a meeting in early January 2023 to allow U.S. Government representatives

 to seek clarification or context about the proposed sale, and for the Special Master and his team to

 provide further information as needed.

        13.     My Advisors and I met with the U.S. Government representatives on January 12,

 2023. At the January 12 meeting, which included attorneys from the Department of Justice,

 Department of the Treasury, and Department of State, my advisors and I described the Court-

 approved Sale Procedures Order and provided the U.S. Government representatives with an

 opportunity to ask questions about the process. We also reiterated the importance of receiving

 clarity as to the U.S. Government’s position with respect to issuing necessary licenses and, in

 particular, the impact such clarity, or lack thereof, would have on the willingness of Potential

 Bidders to incur substantial costs in formulating a bid and opening themselves to potential

 sanctions risk for participating in the Marketing Process.

        14.     On March 30, 2023, the Court held a hearing on a number of matters in the

 Crystallex Case. At the hearing, I indicated, through my Advisors, that I may seek to engage with

 the Sale Process Parties after expected receipt of any guidance form the U.S. Government in

 connection with the preparation of this Supplemental Report. However, subsequently and as a

 condition to receiving any guidance, the U.S. Government requested that, prior to the issuance of




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 this Report, I not disclose the contents of the letter to anyone, including the Sale Process Parties,

 other than to the Court, if necessary. On April 7, 2023, I received the April 7 DOJ Letter, which

 conveyed the U.S. Government’s determination that, among other things: (i) OFAC would “issue

 public guidance that, under these circumstances, OFAC will not take enforcement action against

 individuals or entities for participating in or complying with the Prefatory Steps set out in the [Sale

 Procedures Order], as well as those who engage in transactions that are ordinarily incident and

 necessary to participation in and compliance with such steps, e.g., potential or actual credit

 counterparties”, and (ii) “OFAC intends to implement a favorable licensing policy for license

 applications in connection with the execution of a sale as contemplated in the [Sale Procedures

 Order] or, as applicable, the negotiation of a settlement agreement among the relevant parties.”

        15.     Consistent with the U.S. Government’s request, I did not distribute the letter to any

 parties, including the Court, and did not consult the Sale Process Parties, Potential Bidders, or

 other stakeholders, such as the PDVSA 2020 Bondholders, in formulating my recommendation

 contained in this Supplemental Report, as doing so would be impossible without also discussing

 the April 7 DOJ Letter or the positions of the U.S. Government described in that letter.

 Nevertheless, the Sale Procedures Order provides the Sale Process Parties with an opportunity to

 object to my recommendation, and I hope to discuss the contents of this Supplemental Report with

 them during that review and objection period. Sale Procedures Order ¶ 3. Furthermore, as

 indicated in the April 7 DOJ Letter and subsequent discussions, it is my understanding that the

 U.S. Government will be publicly issuing guidance on the Marketing Process and its policy with

 respect to the sale of the PDVH Shares shortly after the issuance of this Supplemental Report.

        IV.     Preparation Launch Date and Launch Date Factors and Considerations

        16.     The following section addresses certain factors and considerations, and the related

 analysis, that I, with advice from my Advisors, determined are relevant in connection with the


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 preparation of this Supplemental Report and my recommendation to the Court to direct me to

 launch the Marketing Process on the timeline described herein.

 A.     U.S. Government Sanctions.

        17.    Over the past decade, the U.S. Government has imposed an extensive sanctions

 regime with respect to the Republic, including the addition of PDVSA on January 28, 2019 to

 OFAC’s List of Specially Designated Nationals and Blocked Persons under Executive Order

 (“E.O.”) 13850, and culminating in the imposition of sanctions on the Government of Venezuela

 under E.O. 13884 on August 5, 2019. See also E.O. 13692 of March 8, 2015, “Blocking Property

 and Suspending Entry of Certain Persons Contributing to the Situation in Venezuela”; E.O 13808

 of August 24, 2017, “Imposing Additional Sanctions with Respect to the Situation in Venezuela”;

 and E.O. 13835 of May 21, 2018, “Prohibiting Certain Additional Transactions With Respect to

 Venezuela”.

        18.    As has been briefed in numerous pleadings before the Court in the Crystallex Case

 and other associated cases, as a result of these sanctions actions, the PDVH Shares and other

 CITGO assets are “blocked property” pursuant to OFAC’s Venezuela-related sanctions. See, e.g.,

 31 CFR § 591.201, § 591.407, § 591.509. Because they are blocked, absent authorization from

 OFAC, these shares and assets “may not be transferred, paid, exported, withdrawn, or otherwise

 dealt in” within the United States or by U.S. persons. See E.O. 13850 § 1; E.O. 13884 § 1.

        19.    Previously, the U.S. Government issued policy statements opposing the sale of

 PDVH Shares. In a July 16, 2020, statement to the Court, the U.S. Government explained that

 “efforts by creditors to enforce judgments against Venezuela by taking immediate steps toward a

 conditional sale of PDVSA’s U.S.-based assets, including PDVH and CITGO, are detrimental to

 U.S. policy and the interim government’s priorities.” D.I. 212-1, at 3-4 (Letter from Special

 Representative for Venezuela Elliot Abrams); see also D.I. 212-2, at 2 (Letter from OFAC Director


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 Andrea Gacki stating that “[a]bsent a change in the above considerations, these factors will weigh

 heavily in OFAC’s license determination and could prove to be dispositive in adjudicating this

 license application”).

        20.     On September 10, 2021, Crystallex’s counsel notified the Court that Crystallex had

 received a letter from OFAC denying Crystallex’s request for a specific license authorizing “all

 activities necessary and ordinarily incident to organizing and conducting a judicial sale of shares

 in CITGO Petroleum Corp.’s (CITGO) indirect parent holding company, PDV Holding, Inc.

 (PDVH), that are held by Petróleos de Venezuela, S.A. (PdVSA).” D.I. 346-1 at 2; see also D.I.

 343 at 14. The letter further explained “that this determination is made without prejudice to

 reconsideration of a specific license request to sell the PDVH shares at a later time if the foreign

 policy considerations change.” D.I. 346-1 at 9.

        21.     The Court’s Sale Procedures Order directed the Special Master to seek guidance

 from the U.S. Government, including OFAC, regarding “its support for (or non-opposition to), the

 launch of the Marketing Process by the Special Master, the viability of the Marketing Process, and

 any additional feedback or guidance that the Special Master believes will more likely result in a

 value-maximizing Sale Transaction.” Sale Procedures Order ¶ 3. My Advisors and I complied

 with this requirement by sending a letter to the U.S. Government on November 22, 2022, seeking

 this information and by meeting with the U.S. Government on January 12, 2023.

        22.     The U.S. Government has now outlined its position relative to the Marketing

 Process and Sale Transaction, as reflected in the April 7 DOJ Letter.

        23.     The April 7 DOJ Letter confirms that (i) the U.S. Government is “not seeking to

 contest” the Court’s holding “that a specific license is not necessary for, and that the current

 Venezuela sanctions regime does not prohibit the Prefatory Steps [(as defined in the April 7 DOJ




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 Letter)] antecedent to the consummation of the Sales Transaction to occur”, and (ii) OFAC will

 not take enforcement action against those participating in the Prefatory Steps and those engaging

 in transactions that are ordinarily incident and necessary to participation in and compliance with

 such steps. These representations regarding the Prefatory Steps provide clarity and assurance to

 the Court, the Special Master, the Sale Process Parties, and other parties-in-interest, including

 Potential Bidders and associated service providers, that all parties can participate in the Marketing

 Process without risk of penalty under the Venezuela sanctions. This includes actions such as

 preparing for and launching the Marketing Process, conducting due diligence, submitting,

 collecting, and designating bids, determining Qualified Bidders and Qualified Bids, conducting

 and participating in additional rounds of bidding, as needed, determining the Successful Bid and

 rejecting unsuccessful Bids, conducting and participating in an auction, and filing a Notice of

 Successful Bidder.

         24.     Additionally, the April 7 DOJ Letter memorializes a change in the U.S.

 Government’s licensing policy from its prior submissions to the Court. Specifically, the U.S.

 Government’s confirmation that “OFAC intends to implement a favorable licensing policy for

 license applications in connection with the execution of the sale” provides clarity and assurance to

 all parties-in-interest that the U.S. Government does not, as a matter of policy, intend to block the

 completion of a Sale Transaction or, as applicable, the negotiation of a settlement among the

 relevant parties.

         25.     As described in the April 7 DOJ Letter, OFAC intends to publish guidance

 reflecting its posture with respect to the Prefatory Steps and to issue a public notification of a

 favorable licensing policy with respect to the execution of a sale. While, as of the submission of

 this Supplemental Report, OFAC has not yet released detailed guidance on its intention with




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 respect to the Marketing Process or the Sale Transaction, generally, the April 7 DOJ Letter is a

 material step toward providing Potential Bidders with certainty as to this process, such that the

 likelihood of “chilled bidding” or lack of participation, as discussed in the August 2021 Report is

 significantly diminished.

 B.     State of the Oil and Gas Refining Industry and the M&A and Financing Markets.

        26.     In connection with the preparation of this Supplemental Report and my evaluation

 of whether and when to prepare for and launch the Marketing Process, Evercore L.L.C.

 (“Evercore”) as financial advisors to the Special Master, reviewed the recent financial and

 operational performance of CITGO and its refiner competitors, as well as the current state of the

 financing capital markets and recent merger and acquisition activity in CITGO’s industry.

        27.     Evercore informed me that, in 2021, still in the midst of the COVID-19 global

 pandemic and uncertain as to the timing and speed of any economic recovery, U.S. oil and gas

 refining companies projected conservative financial performance forecasts for 2021 through 2023.

 Actual results for 2021 and 2022 ultimately materially outperformed those forecasts, as U.S.

 refiners benefitted from a surge in economic activity as the world opened after COVID restrictions

 were lifted. Performance of the U.S. refiners was also boosted as a result of growth in exports due

 to elevated European natural gas prices in the same time period. Those global trends created

 favorable refining margins, high product yields, strong asset reliability, and an increase in exports

 to foreign markets, all of which lead to stronger-than-predicted financial performance for U.S.

 refiners, including CITGO, which extended its year-over-year growth through fiscal year 2022.

        28.     Evercore indicated that, while there currently exists a real risk of economic

 recession that could create headwinds for growth among U.S. refiners, industry experts are




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 nevertheless forecasting above 90% refinery utilization rates for the next two years, 2 which mirrors

 pre-pandemic levels and implies demand is forecasted to remain high. Further, national energy

 security is becoming an important investment thesis as persistent underinvestment creates

 volatility and supply shortages across the hydrocarbon value chain. The heightened focus on

 energy security is amplified by trends such as post-COVID consumer travel, increased demand

 from Asian markets, and the ongoing Russia-Ukraine conflict. Factors such as slowing economic

 activity as a result of a recession, and higher inventories resulting from recent production increases,

 may create short-term margin contraction for some refiners, but the current three-year outlook for

 refining companies is forecasted to significantly exceed the three-year outlook that was in place as

 of the August 2021 Report.

        29.     Based on the foregoing industry developments, among other things, and my

 discussions with Evercore, I believe that a proposed sale of the PDVH Shares in the near term may

 be more positively received by the market and could draw more Potential Bidders, as compared to

 the circumstances in place in prior years.

        30.     Evercore also informed me that, in the last five years, there have been

 approximately 11 notable acquisition transactions among oil and gas refiners. Further, in the past

 18 months, there has been more deal activity within the refining sector as compared to the 18-

 month period leading up to the August 2021 Report. Although past performance does not mean

 future M&A activity will continue to be elevated, the trend highlights a positive change in the

 market cycle that did not seem to exist during the early phases of this sale process.




 2
  Kevin Hack, EIA Forecasts U.S. Refinery Utilization to Average More than 90% in 2023 and
 2024, U.S. ENERGY INFO. ADMIN. (Feb. 12, 2023), eia.gov/todayinenergy/.



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        31.     Based on Evercore’s evaluation of recent refining acquisition transactions, certain

 factors that Potential Bidders may consider in assessing opportunities in the current environment

 include:

                 a.      Scale. Increased scale and exposure to the highest-margin U.S. refineries
                         provides the best hedge against risks related to the global energy sector’s
                         transition away from fossil-based systems of energy production and
                         consumption. The size of CITGO’s refining operations could provide a
                         buyer with immediate scale.

                 b.      Cash Flow Enhancing Transactions. Immediate cash returns allow for
                         reinvestment or capital return by a buyer and also help to hedge energy
                         transition risks described above. A Potential Bidder may seek to use the
                         reliable cash flows from CITGO’s assets to balance business growth and
                         pursue less certain opportunities such as investment in renewable energy
                         business segments.

                 c.      Exposure to Upside. Exposure to refineries can provide upside when paired
                         with complementary businesses including chemicals and crude oil
                         marketing. A Potential Bidder may be seeking to vertically or horizontally
                         integrate portions of their existing downstream value chain with CITGO’s
                         assets, which would create additional synergistic value.

        32.     Evercore indicated that, while M&A activity among refining companies has

 accelerated since the August 2021 Report, the U.S. debt capital market environment has weakened.

 Elevated interest rates and uncertainty relating to future rates has dampened the availability of

 capital, however, today’s capital markets are still more than adequate to accommodate a

 transaction of CITGO’s scale, especially since the Bidding Procedures provide for the ability for

 Potential Bidders to submit bids for all or a portion of the PDVH Shares.

        33.     Evercore’s review of recent U.S. capital markets activity shows that since October

 1, 2022, at least (i) eight U.S.-domiciled leverage buyout transactions with over $1 billion of debt

 each have been funded or committed, and (ii) forty-one loan deals and eighteen bond deals over

 $1 billion have been priced for U.S. issuers with corporate family ratings of B, BB, or split B/BB

 ratings. As of April 28, 2023, CITGO Petroleum and CITGO Holdings were rated by Moody’s



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 and S&P Ratings at B3/B- and Caa1/B- with stable outlooks. However, both Moody’s and S&P

 Ratings have explicitly cited the current ownership of CITGO by PDVSA as a key credit

 consideration and indicated that a sale of the PDVH Shares to a company with a credit profile

 stronger than PDVSA could result in a higher rating. 3

        34.     In light of the foregoing, based on my review and understanding of the facts and

 circumstances, I believe it is in the best interests of the Sale Process Parties in pursuit of a value-

 maximizing Sale Transaction to launch the Marketing Process as soon as practicable in order to

 take advantage of CITGO’s recent financial and operational performance and the current state of

 the refining industry, as well as the financing and M&A markets.

 C.     Scheduling the Preparation Launch Date and the Launch Date.

        35.     Preparation Launch Date. Pursuant to the Sale Procedures Order, the Sale Process

 Parties have the ability to file Launch Date Objections within 15 business days of the filing of this

 Supplemental Report, which makes such objections due on May 19, 2023. Any responses to the

 Launch Date Objections are due 10 business days later, on June 5, 2023. My Advisors and I are

 ready to begin preparations for the Marketing Process as soon as the Court enters an order in

 response to any Launch Date Objections and without any further delay. Therefore, I propose that

 the Preparation Launch Date is set as soon after June 5, 2023 as the Court is able to consider the

 Supplemental Report and any Launch Date Objections and responses thereto.

        36.     Launch Date. As previewed in the August 2021 Report, I anticipate that my

 Advisors and I will need approximately 45 to 90 days to complete the diligence and analysis



 3
  See Kimeberly E. Yarborough, Citgo Petroleum Corp., CITGO Holding Inc. ‘B-‘ Issuer Credit
 Rating Affirmed; Outlook Stable, S&P (2022); Roxana Munoz & Marcos Schmidt, Credit
 Opinion: CITGO Holding, Inc., Moody’s (2023); Roxana Munoz & Marcos Schmidt, Credit
 Opinion: CITGO Petroleum Corporation, Moody’s (2023).



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 necessary to launch the Marketing Process. August 2021 Report ¶ 44. Our diligence conducted

 to date has been limited to that necessary to design the Marketing Process and prepare the proposed

 Sale Procedures Order; however, we will need to conduct thorough business diligence to prepare

 a “teaser”, confidential information memorandum, and other marketing materials to send to

 Potential Bidders. We intend beginning this work in earnest upon the Preparation Launch Date and

 believe that we will be in a position to launch the Marketing Process on September 5, 2023, but

 reserve the right to extend that date in consultation with the Sale Process Parties or to accelerate

 the date in the event I believe, in my sole discretion, that my Advisors and I have sufficiently

 conducted our diligence and analysis and have prepared the necessary marketing materials for

 distribution to Potential Bidders. The ultimate timing of the Launch Date will depend in large part

 upon the cooperation of the CITGO management team, though I note that they have engaged with

 me and my Advisors constructively in the past and I have no reason to believe they will not do so

 in the future.

         37.      For the avoidance of doubt, during the period between the Preparation Launch Date

 and the Launch Date, my Advisors and I will engage in the various other tasks described in the

 Sale Procedures Order.

                                         V.     Conclusion

         38.      For the reasons articulated above, I recommend the Marketing Process begin

 without any further delay beyond the consideration by the Court of this Supplemental Report and

 any Launch Date Objections.



                                               /s/ Robert B. Pincus
                                               Robert B. Pincus
                                               Special Master for the United States District Court
                                               for the District of Delaware



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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                 CERTIFICATE OF SERVICE

        I, Myron T. Steele, hereby certify that on April 28, 2023, the attached document was

 electronically filed with the Clerk of the Court using CM/ECF which will send notification to the

 registered attorney(s) of record that the document has been filed.

        I further certify that on April 28, 2023, the attached document was Electronically Mailed

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